           Case 8:05-cv-03023-PJM Document 2 Filed 11/21/05 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MARYLAND


ARTHUR B. COLEMAN, #37760-037                       :

        Plaintiff                                   :

            v.                                      :          Civil Action No: PJM-05-3023

HOLLIS WEISMAN, et al                               :

        Defendants                                  :
                                              . . .o0o. . .

                                          MEMORANDUM


        Before the Court is a pro se 42 U.S.C. § 1942 complaint filed by Arthur Coleman, a federal

inmate, in which he names as defendants United States District Court Judge Alexander Williams,

Jr., United States Magistrate Judge Thomas M. DiGirolamo, and Assistant United States Attorney

(AUSA) Hollis Weisman. Plaintiff has neither submitted the civil filing fee nor a motion for leave

to proceed in forma pauperis. For the limited purpose of preliminary review, the Court will grant

Petitioner leave to proceed in forma pauperis pursuant to 28 U.S.C. § 1915(a). Upon initial review

of the complaint, the Court determines that it must be dismissed sua sponte for failure to state a

claim upon which relief may be granted. See 28 U.S.C. §§ 1915(e)(2)(B) and 1915A.

                                         I. BACKGROUND

       In this complaint, Plaintiff contends that Defendants violated his constitutional rights at

various stages of criminal proceedings in which he was the defendant. In regard to Judge Williams,

Plaintiff complains that Judge Williams: “denied” his untimely appeal; denied two other motions

without “adjudicating the facts on the grounds that the court was without jurisdiction to entertain the
               Case 8:05-cv-03023-PJM Document 2 Filed 11/21/05 Page 2 of 4



motions;” and on May 11, 2005, denied his 28 U.S.C. § 2255 motion in another case. Paper No. 1.
1
    Plaintiff alleges that Judge DiGirolamo sentenced him in error and improperly ordered him to pay

restitution to his victims. Paper No. 1.

          In regard to AUSA Weisman, Plaintiff complains that she charged him in a “multiplicious

criminal information” of one count of theft under 18 U.S.C. § 661 and a second count under the same

provision of the statute. 2 Paper No. 1. This, he contends, is “malicious prosecution.” Id. According

to Plaintiff, AUSA Weisman should have charged him under a different statute. See id.

                           II. STANDARD FOR SUA SPONTE DISMISSAL

           The Court is obliged to screen complaints in a civil action in which a prisoner is proceeding

    in forma pauperis or seeks redress against a governmental employee or entity. The Court is required

    to identify cognizable claims and dismiss sua sponte any claim that is frivolous, malicious, fails to

    state a claim upon which relief may be granted, or seeks monetary relief from a defendant who is

    immune from such relief. See 28 U.S.C. §§ 1915(e)(2)(B) and 1915A.

           In evaluating the sufficiency of a pro se complaint, the Court is mindful to interpret it

    liberally in favor of the plaintiff. See Haines v. Kerner 404 U.S. 519, 520 (1972). A pro se

    complaint may be dismissed for failure to state a claim only if it appears “beyond doubt that the

    plaintiff can prove no set of facts in support of his claim which would entitle him to relief.” Haines,

    404 U.S. at 521 (quoting Conley v. Gibson, 355 U.S. 41, 54-46 (1957).


           1
           Plaintiff apparently refers to Coleman v. United States, Civil Action No. AW-04-2727
    (D. Md.).
           2
           Plaintiff entered a plea of guilty before Judge DiGirolamo in Criminal Case No.
    04–3499M. Plaintiff pleaded to one count of Theft of Government Property in violation of 18
    USC § 661 and one count of Attempted Theft of Government Property in violation of 18 U.S.C.
    § 661.

                                                      2
           Case 8:05-cv-03023-PJM Document 2 Filed 11/21/05 Page 3 of 4



                                          III. ANALYSIS

       As a general rule, judges acting in their judicial capacity are absolutely immune from suit

under the doctrine of judicial immunity. See Mireless v.Waco, 502 U.S. 9,9 (1991). Judicial officers

are immune from liability for their judicial acts unless done in the clear absence of all jurisdiction.

See Stump v. Sparkman, 435 U.S. 349, 356 (1987); Chu v.Griffith, 771 F.2d 79 (4th Cir. 1985).

Judicial immunity can be surmounted only for actions not taken in a judicial capacity, see Pierson

v Ray, 386 U.S. 547, 554 (1967), or for actions taken in a complete absence of all jurisdiction. See

Mireless, 502 U.S. at 11-12. Here, Plaintiff takes issue with various decisions made by Judges

Williams and DiGirolamo in cases in which he was the criminal defendant. Plaintiff does not allege

that either judge acted beyond the scope of his judicial authority. Further, Plaintiff does not allege

that the decisions were made in the absence of jurisdiction. Indeed, the decisions about which

Plaintiff complains are precisely those which a judge routinely makes during the course of judicial

proceedings. Although Plaintiff may disagree with decisions rendered in his criminal cases, there

has been no infringement of his constitutional rights. For these reasons, Judge Williams and Judge

DiGirolamo are absolutely immune from the claims asserted by Plaintiff, and the claims will be

dismissed pursuant to 28 U.S.C. §§ 1915(e)(2)(B) and 1915A.

       A prosecutor's decision to go forward with a prosecution is also protected by the doctrine of

absolute immunity. See Imbler v. Pachtman, 424 U.S. 409, 431 (1976); Springmen v. Willliams, 122

F.3d 211, 212 (4th Cir. 1997). The actions about which Plaintiff complains were undertaken by

AUSA Weisman in preparation for the initiation of judicial proceedings and occurred in the course




                                                  3
           Case 8:05-cv-03023-PJM Document 2 Filed 11/21/05 Page 4 of 4


                           3
of her role as advocate.       Accordingly, this claim will be dismissed pursuant to 28 U.S.C. §§

1915(e)(2)(B) and 1915A(b). A separate Order follows.




  11/21/05                                                       /s/
Date                                                      PETER J. MESSITTE
                                                     UNITED STATES DISTRICT JUDGE




       3
         To the extent Plaintiff might be seeking to invalidate his criminal conviction through
litigation of his claims that his prosecution was somehow illegal, claims challenging the legality
of a conviction are not cognizable in a 42 U.S.C. § 1983 action unless and until the conviction is
reversed, expunged, invalidated, or impugned. See Heck v. Humphrey, 512 U. S. 477 (1994).

                                                 4
